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                       EXHIBIT 1
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                       EXHIBIT 2
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   Essex County Correctional Facility
   354 Doremus Avenue
   Newark, NJ 07105


   From: Dr. Lionel Anicette MD, Medical Director
   To: Director Alfaro Ortiz
   Date: February 18, 2019
   RE: Health and Food Safety


   During my ten year tenure as the Medical Director of the Essex County Correctional
   Facility and in commission of my role as the manager of the Continuous Quality
   Improvement program, I certify that during this period of providing clinical oversight that
   there have been no instances of food-borne outbreaks to include the following pathogens
   such as E. Coli, Salmonella and Staphylococcus infections. This is evidenced via review
   of our regularly reviewed infection control reports, medical provider encounters and
   feedback from our affiliated local tertiary referral hospitals.


   Respectfully,


   Dr. Lionel Anicette MD
   Medical Director
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                       EXHIBIT 3
Case 2:19-cr-00877-CCC Document 75-1 Filed 03/27/20 Page 19 of 22 PageID: 1746


 From:              McVicker, Barry
 To:                Boyd, David
 Subject:           Fwd: QLAB Report(s): Essex County Correctional Facility
 Date:              Tuesday, April 2, 2019 5:44:46 PM




 FYI only for now

 Sent from my iPhone

 Begin forwarded message:

 From: M MCGUINNESS <mguinni69@verizon.net<mailto:mguinni69@verizon.net>>
 Date: April 2, 2019 at 5:38:57 PM EDT
 To: "Howley, Ron" <rhowley@dcoenergy.com<mailto:rhowley@dcoenergy.com>>,
 "rkenvironmental@entermail.net<mailto:rkenvironmental@entermail.net>"
 <rkenvironmental@entermail.net<mailto:rkenvironmental@entermail.net>>, Meredith/H Dieda
 <mdieda.rk@gmail.com<mailto:mdieda.rk@gmail.com>>,
 <bmcvicker@dcoenergy.com<mailto:bmcvicker@dcoenergy.com>>
 Subject: Fwd: QLAB Report(s): Essex County Correctional Facility

 Hi Ron,

 Results from last Friday are attached. The counts are very low and are considered excellent. They compare
 favorably with the reference samples. No further action is necessary.

 Best,
 Mike McGuinness, CIH, CET, CIAQP, ABIH-IEQ

 Sent from my iPhone
Case 2:19-cr-00877-CCC Document 75-1 Filed 03/27/20 Page 20 of 22 PageID: 1747
 Case 2:19-cr-00877-CCC Document 75-1 Filed 03/27/20 Page 21 of 22 PageID: 1748
                                                                                                           QLab, 256 Bridge St, Metuchen, NJ 08840
                                                              AccuScience™                                     info@qlabusa.com www.QLABusa.com
                                                              Analysis Report                                               AIHA EMPAT Lab ID: 178794

Analysis: AccuScience Premium Level 3 Fungal Spore Count™                                            QLab Job No.:              ME190329-11
Client:     RK Environmental                                                                         Date Received:             3/29/2019
            Phillipsburg, NJ                                                                         Date Analyzed:             4/1/2019
Contact: McGuinness, Michael                                                                         Date Reported:             4/1/2019
Project ID: Essex County Correctional Facility
Date Sampled: 3/29/2019

Reviewed by: WT                                        Approved by: Wei-Chih Tang, Ph.D., Lab Director
Lab Sample No.                                               ME190329-11(1)                      ME190329-11(2)
Sample ID                                                       2679472                             2679466
Sample Location                                                   23 BR Lower                            OAR

Sample Type (Device)                                         Air (Allergenco-D)                  Air (Allergenco-D)
Air Volume                                                                 75 L                                 75 L
Total Concentration (counts/m³)**                                          66 cts/m³                           450 cts/m³
Mycologix Profile Group 1, 2 & 3                       cts/smp*      counts/m³         % cts/smp*       counts/m³           %
1. Common Dominant Spores                                 DL = 53; LQL = 1100 cts/m³           DL = 53; LQL = 1100 cts/m³
    Ascospores, non-specified (O)
    Basidiospores (O,I)                                                                         34             450     100
    Cladosporium, Group HM (O)
    Aspergillus/Penicillium-like, DOT (O)
             #Cluster-Chain-Loose Spore Profile™

    Cladosporium, Group C (O,I)                              4             53        80
    Cladosporium, Group S (I)
    Aspergillus/Penicillium-like (I,O)
             ##
                  Cluster-Chain-Loose Spore Profile™

          Cluster(s)

2. Indoor Hydrophilic Fungi #                              DL = 13; LQL = 270 cts/m³            DL = 13; LQL = 270 cts/m³
    Stachybotrys (I)
    Chaetomium (I)
    Ulocladium (I)
    Memnoniella (I)
    Trichoderma (I)
    Scopulariopsis (I)
3. Others                                                  DL = 13; LQL = 270 cts/m³            DL = 13; LQL = 270 cts/m³
    Hyphal fragment (O,I)
    Alternaria (O,I)
    Cercospora (O)
    Curvularia (O,I)
    Drechslera/Bipolaris-like (O)
    Epicoccum (O)                                            1             13        20
    Fusarium (O,I)
    Myxomycetes/Smuts/Periconia (O,I)
    Nigrospora (O)
    Pithomyces (O)
    Rusts (O)
    Unknown (O,I)


Skin Cells Rating                                                   Medium                              Trace
Debris Rating                                                     3 (26 - 75%)                       2 (6 - 25%)
Note
     Others (O,I)
                                                         (1) 23 BR Lower
                                                                       13                              (2) OAR0                                      0
*: cts/smp: counts per sample. **: All concentrations are rounded to two digits of significant figures. Total concentrations/percentages may not be equal to the
sum of individual concentrations/percentages due to rounding. #: Water-loving indoor fungi (min Aw ≥0.89). Absence of hydrophilic fungi does not exclude the
possibility of a water damage history. DL: detection limit (analytical sensitivity). LQL: Lower quantitation limit = 20 x DL. Upper quantitation limit depends on
sample conditions. ## Asp/Pen-like spores: Loose: 1 to 2 spores; Chain: 3 to 9 spores; Cluster: 10 spores or more. O: Mostly outdoor origin with rare exceptions;
I: Mostly indoor origin with rare exceptions. Distinct Outdoor Type (DOT): Distinct outdoor Asp/Pen spores that can be easily differentiated from indoor Asp/Pen
spores. DOT is specific to the batch of samples collected at the same time and cannot be used for other batches.


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                                                                                                      QLab, 256 Bridge St, Metuchen, NJ 08840
                                                                     AccuScience™                       info@qlabusa.com www.QLABusa.com
                                                                     Analysis Report                                  AIHA EMPAT Lab ID: 178794

   Analysis: AccuScience Premium Level 3 Fungal Spore Count™                                        QLab Job No.:         ME190329-11
   Client:     RK Environmental                                                                     Date Received:        3/29/2019
               Phillipsburg, NJ                                                                     Date Analyzed:        4/1/2019
   Contact: McGuinness, Michael                                                                     Date Reported:        4/1/2019
   Project ID: Essex County Correctional Facility
   Date Sampled: 3/29/2019

   Reviewed by: WT                                           Approved by: Wei-Chih Tang, Ph.D., Lab Director

                                                         Please see original data for complete interpretation.




                                                                Mycologix ProfileGRAPH™
                                                               Profiles of Airborne Fungal Spores

                                         5,000

                                         4,500

                                         4,000
            Concentrations (counts/m³)




                                         3,500

                                         3,000

                                         2,500

                                         2,000

                                         1,500

                                         1,000

                                          500

                                            0




                                                                               Sample Locations
                                                 Ascospores, non-specified (O)                      Basidiospores (O,I)

                                                 Cladosporium, Group HM (O)                         Aspergillus/Penicillium-like, DOT (O)

                                                 Cladosporium, Group C (O,I)                        Cladosporium, Group S (I)

                                                 Aspergillus/Penicillium-like (I,O)                 Others (O,I)




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